Case 2:24-cv-06870-JMY Document3_ Filed 01/27/25 Page1of1

AFFIDAVIT OF SERVICE

Case: Court: Job:
2:24-cv- In the United States District Court for the Eastern 12434486 (794424)
06870 District of Pennsylvania

Plaintiff / Petitioner:

Defendant / Respondent:

JAMES E. SHELTON, individually and on behalf of all others similarly | EMPWR SOLAR LLC

situated
Received by: For:
Harris Investigations, LLC Proof Serve

To be served upon:
EMPWR Solar LLC

|, Laura Bly, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the boundaries of
the state where service was effected, | was authorized by law to make service of the documents and informed said person of the contents

herein

Recipient Name / Address:
Manner of Service:
Documents:

Additional Comments:

Kambria List, Paralegal, 502 West 7th Street Ste 100, Erie, PA 16502
Business, Jan 2, 2025, 1:43 pm EST

SUMMONS INA CIVIL ACTION, CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL (Received Jan 2, 2025
at 12:23pm EST)

1) Successful Attempt: Jan 2, 2025, 1:43 pm EST at 502 West 7th Street Ste 100, Erie, PA 16502 received by Kambria List, Paralegal. Age: 30s;
Ethnicity: Caucasian; Gender: Female; Weight: 150; Height: 5'5"; Hair: Blond; Other: Kambria came to the desk and accepted the paperwork.
She is a Paralegal. Also note she was pregnant. ;

ID# 1065 \

Harris Investigations, LLC
PO Box 304

Lansdale, Pa 19446
814-795-0870

